Case 2:21-cv-01597-DRH-ARL Document 1-1 Filed 03/25/21 Page 1 of 54 PageID #: 7




                                 EXHIBIT 1
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                                        INDEX NO. 615294/2020
         Case
NYSCEF DOC.   2:21-cv-01597-DRH-ARL
            NO. 1                   Document 1-1 Filed 03/25/21 PageRECEIVED
                                                                     2 of 54 PageID #: 8
                                                                              NYSCEF:  12/31/2020




         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU
         -----------------------------------------------------------------X
                                                                               Index No.:
         LONG ISLAND UNIVERSITY
                              Plaintiff,                                       SUMMONS WITH NOTICE
                  -against-
                                                                               The basis of venue:
                                                                               Plaintiff=s Residence in Nassau
                                                                               County
         MARKEL INSURANCE COMPANY
                            Defendants.                                        The defendant resides at:
                                                                               4600 Cox Road
                                                                               Glen Allen, Virginia 23060-9817
         ------------------------------------------------------------------X
         To the above-named Defendants:

                 YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve
         a copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
         appearance on the Plaintiff's attorneys within 20 days after the service of this summons,
         exclusive of the date of service (or within 30 days after the service is complete if this summons is
         not personally delivered to you within the State of New York); and in case of your failure to
         appear or answer, judgment will be taken against you by default for the relief as demanded
         herein below.

         Dated: December 31, 2020
                East Norwich, New York 11732
                                                              LAW OFFICE OF VINCENT D. McNAMARA
                                                                       /s/ Helen M. Benzie
                                                                By:____________________________________
                                                                     Helen M. Benzie
         Defendants= address:                                    Attorneys for Plaintiff
         4600 Cox Road                                                 LONG ISLAND UNIVERSITY
         Glen Allen, Virginia 23060-9817                          LAW OFFICE OF VINCENT D. McNAMARA
                                                                    1045 Oyster Bay Road-Suite 1
                                                                     East Norwich, New York 11732
                                                                     516-922-9100




                                                             1 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                            INDEX NO. 615294/2020
         Case
NYSCEF DOC.   2:21-cv-01597-DRH-ARL
            NO. 1                   Document 1-1 Filed 03/25/21 PageRECEIVED
                                                                     3 of 54 PageID #: 9
                                                                              NYSCEF:  12/31/2020




                                                                                                11-20-20


         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU
         ---------------------------------------------------------------X

         LONG ISLAND UNIVERSITY,                                            Index No.

                                         Plaintiffs,                              DECLARATORY
                                                                                  JUDGMENT
                                                                                  COMPLAINT

                 -against-

         MARKEL INSURANCE COMPANY,

                                          Defendants.
         ---------------------------------------------------------------X


                 Plaintiff, LONG ISLAND UNIVERSITY (“LIU”), by its attorneys, the LAW

         OFFICE OF VINCENT D. McNAMARA, 1045 Oyster Bay Road, Suite 1, East

         Norwich, New York 11732, hereby alleges upon information and belief as follows:

                                                  INTRODUCTION

                 1.      This is an action for a Declaratory Judgment by the plaintiff LIU pursuant

         to CPLR §3001, declaring that: (a) Markel Insurance Company (“Markel”), is obliged to

         defend and indemnify LIU in two underlying actions in the Supreme Court of the State of

         New York, County of Nassau entitled: Kourtney Tankleff v. Long Island University and

         North Shore Equestrian Center, Inc., in the Supreme Court of the State of New York,

         County of Nassau, Index No.604300/2018, (“Tankleff Action”) and Gabriella F. Furman

         v. North Shore Equestrian Center, Inc. and Long Island University, in the Supreme Court

         of the State of New York, County of Nassau, Index No. 613278/2019, (“Furman




                                                         2 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                       INDEX NO. 615294/2020
        Case
NYSCEF DOC.   2:21-cv-01597-DRH-ARL
            NO.  1                  Document 1-1 Filed 03/25/21 Page RECEIVED
                                                                     4 of 54 PageID #: 10
                                                                               NYSCEF:  12/31/2020




                                                                                            11-20-20


          Action”),(collectively “underlying actions”) up to the limit of each Primary

          Comprehensive General Liability Policy provided by Markel in the sum of

          $1,000,000.00; (b) Markel is obliged to reimburse LIU for all defense costs and expenses

          incurred in each of the underlying actions; (c) Markel is obliged to pay for all defense

          costs and expenses to be incurred in each of the underlying actions and any indemnity

          which may be incurred; and (d) Markel has breached the contract of insurance and is

          required to defend and indemnify LIU in each underlying action.

                                       VENUE and JURISDICTION

                2.     The venue of this action     in New York State Supreme Court, Nassau

          County is proper pursuant to CPLR §503(c) since LIU maintains its offices and main

          campus in Nassau County, North Shore Equestrian Center, Inc. (“NSEC”) maintains its

          primary place of business operations in Nassau County and the underlying actions are

          venued in Nassau County.

                3.      This Court has jurisdiction over this claim as this complaint seeks

          declaratory relief pursuant to CPLR §3001.

                                                 PARTIES

                4.     Long Island University is an institution of higher education organized and

          authorized under the Education Law of the State of New York with its principal office

          and main campus located in the County of Nassau, 700-720 Northern Blvd., Greenvale,

          New York 11568.


                                                       2




                                                  3 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                         INDEX NO. 615294/2020
        Case
NYSCEF DOC.   2:21-cv-01597-DRH-ARL
            NO.  1                  Document 1-1 Filed 03/25/21 Page RECEIVED
                                                                     5 of 54 PageID #: 11
                                                                               NYSCEF:  12/31/2020




                                                                                                11-20-20


                   5.    Markel Insurance Company is an insurance company organized under the

          laws of the State of Illinois with its primary place of business at 4600 Cox Road, Glen

          Allen, Virginia 23060-9817 and is authorized to conduct an insurance business in the

          State of New York.

                                               BACKGROUND

                   6.    Long Island University and North Shore Equestrian Center Inc. entered into

          a Lease Agreement Amended September 23, 1999 (“Lease Agreement”) for the premises

          occupied by North Shore Equestrian Center at the LIU Post Campus.

                   7.    The Lease Agreement allocated the risks of loss between the parties.

                   8.    The Lease Agreement required NSEC to indemnify, hold harmless, and

          defend LIU.

                   9.    Under the Lease Agreement, NSEC agreed to provide liability insurance to

          LIU among other things.

                   10.   Markel issued policy number 9502AG03156-21 to North Shore Equestrian

          Center Inc. for the period June 5, 2016 to June 5, 2017.

                   11.   Markel policy number 9502AG03156-21 was written on an occurrence

          basis.

                   12.   LIU is designated as an additional insured under Markel policy number

          9502AG03156-21 for the period June 5, 2016 to June 5, 2017.

                   13.   Markel issued policy number 9502AG03156-22 to North Shore Equestrian


                                                       3




                                                   4 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                      INDEX NO. 615294/2020
        Case
NYSCEF DOC.   2:21-cv-01597-DRH-ARL
            NO.  1                  Document 1-1 Filed 03/25/21 Page RECEIVED
                                                                     6 of 54 PageID #: 12
                                                                               NYSCEF:  12/31/2020




                                                                                          11-20-20


          Center Inc. for the period June 5, 2017 to June 5, 2018.

                   14.   Markel policy number 9502AG03156-22 was written on an occurrence

          basis.

                   15.   LIU is designated as an additional insured under Markel policy number

          9502AG03156-22 for the period June 5, 2017 to June 5, 2018.

                   16.   The Tankleff action was commenced by the filing of a summons and

          complaint on April 2, 2018 by Kourtney Tankleff against Long Island University and

          North Shore Equestrian Center Inc. for a claim occurring on November 22, 2016. (

          Exhibit A, Tankleff Summons and Complaint).

                   17.   LIU tendered the defense in the Tankleff action to Markel on May 14,

          2018.

                   18.   LIU appointed counsel, appeared and has been defending the underlying

          Tankleff action.

                   19.   Markel declined coverage, defense and indemnification for the Tankleff

          action on December 13, 2018.

                   20.   The Furman action was commenced on September 25, 2019 by Gabriella F.

          Furman against North Shore Equestrian Center and Long Island University for a claim

          occurring on November 28, 2017. (Exhibit B, Furman Summons and Complaint).

                   21.   Notice of the Furman claim was given to Markel on May 1, 2019.

                   22.   Markel denied the claim on May 8, 2019.


                                                      4




                                                  5 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                        INDEX NO. 615294/2020
        Case
NYSCEF DOC.   2:21-cv-01597-DRH-ARL
            NO.  1                  Document 1-1 Filed 03/25/21 Page RECEIVED
                                                                     7 of 54 PageID #: 13
                                                                               NYSCEF:  12/31/2020




                                                                                            11-20-20


                23.    LIU appointed counsel, appeared and has been defending the underlying

          Furman action.

                24.    As an additional insured under the Markel 2017 Insurance Policy, LIU

          tendered the defense in the Furman action to Markel, by a letter dated on March 4, 2020,

          pursuant to the terms of the Lease Agreement between Long Island University and North

          Shore Equestrian Center for the premises occupied by North Shore Equestrian Center.

                25.    On May 29, 2020 Markel refused to accept the tender of the defense and

          indemnification under the insurance policy.

                                                 POLICIES

                26.    LIU has a self-insured retention of the first $150,000 in defense and

          indemnification expenses under United Educators Primary General Liability policy

          number CGL201600009400 (“United Educators 2016 policy”) to Long Island University

          on an occurrence basis for the period October 1, 2016 to October 1, 2017.

                27.    Markel issued General Liability Farm Package Non-Texas policy number

          9502AG03156-21 on an occurrence basis for the period June 5, 2016 to June 25, 2017 to

          NSEC (“Markel 2016 Policy”) which provides Commercial General Liability and Farm

          coverages for leased premises located at Long Island University-C.W. Post Campus,

          Nassau Co., Greenvale, New York 11548.

                28.    NSEC is the Primary Named Insured in the Markel 2016 Policy for farming

          operations which are described as “boarding/riding academy”.


                                                        5




                                                  6 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                          INDEX NO. 615294/2020
        Case
NYSCEF DOC.   2:21-cv-01597-DRH-ARL
            NO.  1                  Document 1-1 Filed 03/25/21 Page RECEIVED
                                                                     8 of 54 PageID #: 14
                                                                               NYSCEF:  12/31/2020




                                                                                                  11-20-20


                29.    LIU is an additional insured under a separate endorsement to the Markel

          2016 Policy. (Exhibit C -Additional Insured Endorsement Markel 2016 Policy).

                30.    Under its Commercial General Liability terms, the Markel 2016 Policy

          provides coverage for contracts under which NSEC is required to provide defense and

          indemnity including legal fees.

                31.    Among the contracts for which indemnity coverage exists under the Markel

          2016 Policy is the subject Lease Agreement between LIU and NSEC.

                32.    The Markel 2016 Policy also contains a Limited Professional Liability

          Horse Trainers and Riding Instructors Endorsement providing coverage for services of

          any horse trainer and/or riding instructor on the premises. (Exhibit D- Limited

          Professional Liability- Horse Trainers and Riding Instructors Endorsement Markel 2016).

                33.    Under the United Educators Primary Comprehensive General Liability

          Policy No. B48-98T (“United Educators 2017 Policy”)issued on an occurrence basis to

          Long Island University for the period October 1, 2017 to October 1, 2018, LIU has a

          self-insured retention of the first $150,000 in defense and indemnification expenses.

                34.    Markel issued a General Liability Farm Package Non-Texas policy

          9502AG03156-22 on an occurrence basis for the period June 5, 2017 to June 25, 2018 to

          NSEC (Markel 2017 Policy) to NSEC which provides Commercial General Liability and

          Farm coverages for leased premises located at Long Island University-C.W. Post

          Campus, Nassau Co., Greenvale, New York 11548.


                                                      6




                                                   7 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                         INDEX NO. 615294/2020
        Case
NYSCEF DOC.   2:21-cv-01597-DRH-ARL
            NO.  1                  Document 1-1 Filed 03/25/21 Page RECEIVED
                                                                     9 of 54 PageID #: 15
                                                                               NYSCEF:  12/31/2020




                                                                                               11-20-20


                 35.   Under the Markel 2017 Policy, NSEC is the Primary Named Insured for

          farming operations which are described as “boarding/riding academy”.

                 36.   LIU is an additional insured under a separate endorsement to the Markel

          2017 Policy. ( Exhibit E Policy Additional Insured Endorsement Markel 2017 Policy).

                 37.   Under its Commercial General Liability terms, the Markel 2017 Policy

          provides coverage for contracts under which NSEC is required to provide indemnity.

                 38.   Among the contracts for which indemnity coverage under the Markel 2017

          Policy exists is the subject Lease Agreement between LIU and NSEC.

                 39.   The Markel 2017 Policy also contains a Limited Professional Liability-

          Horse Trainers and Riding Instructors Endorsement providing coverage for services of

          any horse trainer and/or riding instructor on the premises. (Exhibit F, Limited

          Professional Liability- Horse Trainers and Riding Instructors Endorsement Markle 2017

          Policy).

                                AS AND FOR A FIRST CAUSE OF ACTION
                                   FOR A DECLARATORY JUDGMENT

                 40.   Plaintiffs repeat, reiterate and reallege each and every allegation of the

          Complaint designated Paragraph 1 through 37, as if more fully set forth at length herein.

                 41.   Markel has failed to provide a defense to LIU for the claims alleged in the

          underlying actions.

                 42.   Markel has not responded timely to the requests of LIU to assume the

          defense of Long Island University under the subject Markel 2016 and 2017 Insurance

                                                      7




                                                   8 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                        INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 10 of 54 PageID
                                                                    RECEIVED        #: 16
                                                                              NYSCEF:  12/31/2020




                                                                                              11-20-20


         Policies in the underlying actions.

                43.    LIU seeks a determination of its rights with regard to the Markel 2016

         Policy, including a Declaratory Judgment that Markel is required to defend LIU in the

         Tankleff action.

                44.    LIU seeks a determination of its rights with regard to the Markel 2017

         Policy, including a Declaratory Judgment that Markel is required to defend LIU in the

         Furman action.

                45.    LIU has no adequate remedy at law.

                             AS AND FOR A SECOND CAUSE OF ACTION
                                 FOR A DECLARATORY JUDGMENT

                46.    LIU repeats, reiterates and realleges each and every allegation of the

         Complaint designated Paragraphs 1 through 43, as if more fully set forth at length herein.

                47.    As a result of Markel’s failure to acknowledge its obligation as the primary

         policy to defend LIU, LIU has been required to bear 100% of the defense costs of LIU in

         the underlying Tankleff and Furman actions.

                48.    Markel as the liability insurer, should bear 100% of the total defense costs

         of LIU in each of the underlying actions because LIU has sought coverage under the

         Markel Policy.

                49.    Markel, not LIU should bear the total defense cost of LIU in each of the

         underlying Tankleff and Furman actions.

                50.    LIU has no adequate remedy at law.

                                                     8




                                                  9 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                        INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 11 of 54 PageID
                                                                    RECEIVED        #: 17
                                                                              NYSCEF:  12/31/2020




                                                                                              11-20-20


                                  AS AND FOR A THIRD CAUSE OF ACTION
                                      FOR DECLARATORY JUDGMENT

               51.    LIU repeats, reiterates and realleges each and every allegation of the

         Complaint designated Paragraphs 1 through 48, as if more fully set forth at length herein.

               52.    Markel has failed to satisfy its defense obligations to LIU under the Markel

         Policy and to reimburse LIU for the costs incurred defending itself in each of the

         underlying actions.

               53.    LIU is entitled to a Declaration that Markel, not LIU, is responsible for and

         must reimburse LIU for the defense costs that LIU has incurred in defending itself in

         each of the underlying actions.

               54.    LIU is entitled to a Declaration that Markel, not LIU, is responsible for and

         must pay for any future costs LIU will incur in defense of LIU in each of the underlying

         actions to be determined by the Court.

               55.    LIU has no adequate remedy at law.

                               AS AND FOR A FOURTH CAUSE OF ACTION
                                     FOR BREACH OF CONTRACT

               56.    LIU repeats, reiterates and realleges each and every allegation of the

         Complaint designated Paragraphs 1 through 53 as if more fully set forth at length herein.

               57.    Markel through its duly authorized agents and employees, made

         unambiguous written promises in the form of written contracts which established an

         agreement for comprehensive general liability coverage.


                                                     9




                                                  10 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                          INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 12 of 54 PageID
                                                                    RECEIVED        #: 18
                                                                              NYSCEF:  12/31/2020




                                                                                              11-20-20


                58.     To date, Markel has breached or will breach its obligations by refusing to

         honor the terms of its written agreements and by wrongly refusing to defend, reimburse

         defense costs and expenses, or indemnify LIU in connection with the underlying Tankleff

         and Furman actions.

                59.     As a result, LIU has sustained and will sustain damages.

                60.     By reason of Markel breaches and future breaches of the written

         agreements,      Markel is liable to Iona for damages, including but not limited to

         compensatory and consequential damages, and attorneys’ fees and expenses in amounts

         as yet to be determined at trial.

                                             DEMAND FOR JURY TRIAL

                61.      LIU hereby demands trial by jury of any and all issues so triable.



                WHEREFORE, LIU respectfully requests entry of a judgment determining the

         respective rights and obligations of LIU with respect to the obligation of Markel to

         defend and indemnify Long Island University pursuant to the coverage provided under

         each Markel Policy, as follows:

                (a)     Declaring Markel Insurance Company (“Markel”), is obliged to defend and
                      indemnify LIU in the underlying action in the Supreme Court of the State of
                      New York, County of Nassau entitled: Kourtney Tankleff v. Long Island
                      University and North Shore Equestrian Center, Inc., in the Supreme Court of
                      the State of New York, County of Nassau, Index No.604300/2018, (“Tankleff
                      Action”) up to the limit of the Markel 2016 Primary Comprehensive General
                                                      10




                                                  11 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                          INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 13 of 54 PageID
                                                                    RECEIVED        #: 19
                                                                              NYSCEF:  12/31/2020




                                                                                              11-20-20


                     Liability Policy provided by Markel in the sum of $1,000,000.00;


               (b)      Declaring Markel Insurance Company, is obliged to defend and indemnify
                     LIU in the underlying action in the Supreme Court of the State of New York,
                     County of Nassau entitled: Gabriella F. Furman v. North Shore Equestrian
                     Center, Inc. and Long Island University, in the Supreme Court of the State of
                     New York, County of Nassau, Index No. 613278/2019, up to the limit of the
                     Markel 2017 Primary Comprehensive General Liability Policy provided by
                     Markel in the sum of $1,000,000.00;

               (c)      Declaring Markel is obliged to reimburse LIU for all defense costs and
                     expenses incurred in each of the underlying actions;

               (d)      Declaring Markel is obliged to pay for all defense costs and expenses to be
                     incurred in each of the underlying actions and any indemnity which may be
                     incurred; and

               (e)       Markel has breached the contract of insurance and is required to defend
                     and indemnify LIU in each of the underlying actions;

               (f)      Awarding LIU against Markel direct and consequential damages including
                     but not limited to compensatory and consequential damages, and attorneys’
                     fees and expenses in amounts as yet to be determined at trial;

               (g)      Together with such other and further relief as the Court may deem just and
                     proper, plus the attorneys’ fees, costs and disbursements of the within action.

         Dated: East Norwich, New York
               December 31, 2020

                                     LAW OFFICE OF VINCENT D. McNAMARA
                                            /s/ Helen M. Benzie
                                      By:_________________________________
                                                         Helen M. Benzie, Esq.
                                      Attorneys for Plaintiff LONG ISLAND UNIVERSITY
                                      Tower Square
                                      1045 Oyster Bay Road, Suite 1
                                      East Norwich, New York 11732
                                                     11




                                                  12 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                                                                                                          INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 14 of 54 PageID
                                                                    RECEIVED        #: 20
                                                                              NYSCEF:  12/31/2020




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                                                                         (516)       922-9100




                                                                                      VERIFICATION




           STATE              OF    NEW YORK                       )

                                                                   ) ss.:
           COUNTY                  OF NASSAU                       )


                         CHRISTOPHER                          FEVOLA,                  the      undersigned,              being       duly        sworn,          deposes         and

           says:

                         1.              I   am       Vice-President                  and       Chief         Financial           Officer         of      LONG         ISLAND

           UNIVERSITY,                       a domestic            corporation               and       a defendant         in the     within           action.

                         2.              I have       read    the        foregoing            Declaratory               Judgment            Complaint            and   know       the

           contents           thereof.

                         3.              That     same       are       true    to my         own       knowledge,           except      as to the            matters    therein

           stated        to be     alleged         on    information                 and     belief,        and   as to those         matters,           I believe     them       to

           be    true.

                         4.              This     Verification                is made         by       me because           the    above         party        is a corporation

           and       I am an Officer               thereof.

                                                                                                              LONG         IS           D UNI                ERSITY


                                                                                                                  By:
                                                                                                                        CHRISTOP                 ER F            OLA
                                                                                                                          Vice-President                 &    Chief

                                                                                                                          Financial           Officer
           Swo           to before           me this
             b            day      of             c                           2020




                 t        Pubhe


                                    JENNIFER MCLAUGHLIN
                                NOTARY PUBLIC, State of New York
                                        No. 02MC6110089
                                   Qualified in Nassau County
                                Commission ExpireSL                                                    12




                                                                                               13 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                                  INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 15 of 54 PageID
                                                                    RECEIVED        #: 21
                                                                              NYSCEF:  12/31/2020




                                                                                      11-20-20


         Exhibits


         Exhibit A   Tankleff Summons and Complaint

         Exhibit B   Furman Summons and Complaint

         Exhibit C   Additional Insured Endorsement Markel 2016 Policy

         Exhibit D   Limited Professional Liability- Horse Trainers and Riding Instructors
                     Endorsement Markel 2016

         Exhibit E   Policy Additional Insured Endorsement Markel 2017 Policy

         Exhibit F   Limited Professional Liability- Horse Trainers and Riding Instructors
                     Endorsement Marklel 2017 Policy




                                                13




                                             14 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                              INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 16 of 54 PageID
                                                                    RECEIVED        #: 22
                                                                              NYSCEF:  12/31/2020




                                                                                  11-20-20




                                      Exhibit A
                           Tankleff Summons and Complaint




                                               14




                                            15 of 53
                           04/02/2018 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 01:55 PM                                                                                                                                                           604300/2018
                                                                                                                                                                                               INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 17 of 54 PageID
                                                                    RECEIVED        #: 23
                                                                              NYSCEF:  04/02/2018
                                                                                       12/31/2020




          SUPREME                   COURT            OF THE             STATE            OF NEW                 YORK
         COUNTY                    OF NASSAU

                                                                                                                                      X
         KOURTNEY                        TANKLEFF,
                                                                                                                                                   Index       No.:

                                                                                       Plaintiff,                                                 Date        Filed:


                                                               -against-                                                                          Plaintiff                 designates                     Nassau

                                                                                                                                                   County           as the        place         of trial

         LONG              ISLAND           UNIVERSITY                       POST         and
         NORTH               SHORE               EQUESTRIAN                      CENTER              INC.,                                         The     basis                 of        the        venue          is
                                                                                                                                                   defendants'
                                                                                                                                                                                 principle             place        of

                                                                                       Defendant.                                                 business


                                                                                                                                                   SUMMONS



                                                                                                                                      X


         To     the        above     named         Defendant



                           YOU       ARE          HEREBY                   SUMMONED                        to answer          the        complaint             in this        action           and    to   serve      a

         copy         of     your     answer,          or,     if    the     complaint              is    not    served        with         this      summons,                   to     serve        a notice       of

         appearance,                on     the    Plaintiff          s attorneys              Goldblatt         &     Associates             within            20      days        after       the    service       of

         this      summons,              exclusive            of the       day    of    service           (or   within        30    days        after       the      service            is complete            if the

         summons               is not      personally               delivered          to you        within         the   State       of New             York);            and        in the      case     of your

         failure           to appear        or answer,              judgment           will      be taken         against          you     by      default          for    the        relief     demanded           in

         the    complaint.


         Dated:            Mohegan           Lake,       New          York
                           April     02,    2018


                                                                                                                      Goldblatt             &      Associates,              P.C.
                                                                                                                      Attorneys             for      Plaintiff

                                                                                                                      1846     East         Main           Street         (Route          6)
                                                                                                                      Mohegan               Lake,          New         York           10547

                                                                                                                      (914)         788-5000




                                                                                                      1 of
                                                                                                     16  of 10
                                                                                                             53
                           04/02/2018 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 01:55 PM                                        604300/2018
                                                                            INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 18 of 54 PageID
                                                                    RECEIVED        #: 24
                                                                              NYSCEF:  04/02/2018
                                                                                       12/31/2020




         TO:

         Long       Island   University     Post

         720     Northern      Boulevard

         Brookville,         New     York   11548


         North       Shore   Equestrian      Center   Inc.,
         c/o     secretary    of   state




                                                               2 of
                                                              17  of 10
                                                                      53
                           04/02/2018 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 01:55 PM                                                                                                                                                       604300/2018
                                                                                                                                                                                           INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 19 of 54 PageID
                                                                    RECEIVED        #: 25
                                                                              NYSCEF:  04/02/2018
                                                                                       12/31/2020




          SUPREME                  COURT               OF THE               STATE            OF NEW               YORK
         COUNTY                  OF NASSAU
         ---------------------------------------------------------------------X
         KOURTNEY                        TANKLEFF,


                                                                            Plaintiff(s),                                                                                 INDEX           No:




                                                                                                                                                                          VERIFIED
                                                                                                                                                                          COMPLAINT
                                          -against-




         LONG             ISLAND              UNIVERSITY                       POST           and
         NORTH                  SHORE          EQUESTRIAN                          CENTER               INC.,


                                                                            Defendant(s).
         ---------------------------------------------------------------------X                                               X



                           Plaintiff,         by      and         through         her       attorneys,            Goldblatt            &     Associates,                P.C.    complaining               of    the



         defendants,               respectfully              alleges,          upon         information            and    belief:




                                                                  AS AND              FOR        A    FIRST          CAUSE              OF ACTION



                           1.             That        at    all     times        hereinafter             mentioned.              the       plaintiff,            Kourtney            Tankleff,        was       and


         still     is a resident              of the       State      of New            York,         County        of Nassau.



                           2.             That        at all       times        hereinafter             mentioned             the      defendant                 Long       Island       University            Post



         ("LIU")            was         and    is a private             educational                 institution          organized              and      existing           under       and      by   virtue      of



         the       laws      of the       State       of New          York.


                           3.             That       at all        times       hereinafter             mentioned              the      defendant             LIU        was     and      is a private,          for



         profit,          educational              institution          organized               and     existing         under         and      by      virtue      of the      laws       of the      State      of


         New         York.




                                                                                                         3 of
                                                                                                        18  of 10
                                                                                                                53
                           04/02/2018 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 01:55 PM                                                                                                                                                                604300/2018
                                                                                                                                                                                                    INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 20 of 54 PageID
                                                                    RECEIVED        #: 26
                                                                              NYSCEF:  04/02/2018
                                                                                       12/31/2020




                       4.                 That       at all         times         hereinafter           mentioned                 the       defendant              LIU           operated           an     educational


         institution             whereby             in     exchange               for     monetary            remuneration,                      members              of     the     general             public       were


         permitted               to participate              in      university            sanctioned               classes          in    furtherance               of      obtaining              an educational


         degree.


                       5.                 That        at     all     times          hereinafter            mentioned,                     defendant,           LIU            hired          employees             and/or


         teachers           to     administer               the                             sanctioned               classes                                  a class             referred          to    as PE            116-
                                                                     university                                                       including


         Beginning                Horseback                Riding          which           was      offered          within          the     North         Shore            Indoor           Equestrian            Center


         located       on the            premises            of LIU          Post.


                       6.                 That       at all        times         hereinafter          mentioned,                defendant,             LIU,          its     employees,               agents       and/or


         teachers           were         responsible                 for     administrating                   the     course            known          as PE               116-Beginning                    Horseback



         Riding        within            the    North         Shore          Indoor         Equestrian              Center          located          on the        premises             of LIU            Post.


                       7.                 That       at     all      times         hereinafter             mentioned,                 defendant,               LIU,          owned            the        North        Shore


         Indoor        Equestrian                Center            located         upon      the     premises            known             as LIU         Post.


                       8.                 That       at all        times         hereinafter          mentioned,                defendant,              L1U,         owned            stables            located       upon


         the     premises               known         as L1U             Post      that     housed         horses          that       were         used       by      the        students           enrolled          in    the


         class     known                as PE        116-Beginning                       Horseback             Riding           and        that    was        part         the     curriculum               offered          by


         defendant               LIU.


                       9.                 That       at all        times         hereinafter          mentioned,                defendant,              LIU,         owned            the     horses,         including


         horses        named             Apache            and      Drake,          that     were      used         by    the       students           enrolled             in the       class        known           as PE



          116-Beginning                   Horseback                 Riding          and     that     was      part       the    curriculum                offered            by     defendant             LIU.


                        10.               That       at all        times         hereinafter          mentioned                the        defendant           North           Shore          Equestrian            Center


                  ("                Shore"
         Inc.     ("North           Shore")           was          and      is a domestic              business            corporation                 duly        organized                and     existing          under



         and      by   virtue            of    the    laws          of     the     State       of   New        York           and       who       registered                with      the      New         York        State




                                                                                                         4 of
                                                                                                        19  of 10
                                                                                                                53
                           04/02/2018 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 01:55 PM                                                                                                                                                                   604300/2018
                                                                                                                                                                                                       INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 21 of 54 PageID
                                                                    RECEIVED        #: 27
                                                                              NYSCEF:  04/02/2018
                                                                                       12/31/2020




         Department            of     State     having                Nassau           County              as a principal              place       of doing             business.


                       11.            That      at all          times         hereinafter              mentioned              the      defendant               North           Shore        owned            the    indoor


         Equestrian           Center         located            upon          the     premises              known           as LIU         Post.


                       12.            That         at     all         times         hereinafter                mentioned,                defendant,                  North         Shore           owned              stables


         located       upon         the     premises              known              as LIU            Post         that    housed           horses            that      were         used        by    the        students


         enrolled        in     the        class         known                as     PE        116-Beginning                     Horseback                     Riding           and       that         was         part       the


         curriculum           offered         by        defendant              LIU.        .


                       13.            That         at all        times         hereinafter                 mentioned,              defendant,              North          Shore,            owned            the     horses,



         including           horses         named           Apache                 and     Drake,             that     were         used       by        the      students             enrolled          in     the        class


         known         as     PE          116-Beginning                       Horseback                    Riding          and      that       was         part         the      curriculum                  offered           by


         defendant           LIU.


                       14.            That         at     all     times             hereinafter               mentioned,                defendant,                North           Shore,           entered             into         a


         written       contract            whereby               in     exchange               for         monetary           remuneration,                     defendant               North          Shore          would


         provide        defendant              with         horses,                including               horses          named         Apache                and      Drake,           to       be    used          by      the


         students       enrolled            in the        class            known          as PE            116-Beginning                   Horseback                  Riding          and     that      was        part       the


         curriculum           offered         by        defendant              LIU.


                       15.            That         at     all     times             hereinafter               mentioned,                defendant,                North           Shore,           entered             into         a


         written       contract            whereby               in     exchange               for         monetary          remuneration,                      defendant               North          Shore          would


         provide       instructors            who         were             responsible               for     administrating                 the     course            known           as PE        116-Beginning


         Horseback            Riding           offered                by      defendant               L1U       within           the       North          Shore          Indoor             Equestrian                Center



         located       upon         the    grounds              of LIU          Post.


                       16.            That         at all        times         hereinafter                 mentioned,              defendant,              North              Shore,        its    employees                  and


         agents       were     responsible                for         the     safety      of the           students         who        used        the    horses          while         participating                 within




                                                                                                             5 of
                                                                                                            20  of 10
                                                                                                                    53
FILED:
FILED : NASSAU COUNTY
        NASSAU COUNTY CLERK
                      CLERK 12/31/2020
                            0 4 /02/2018 12:47
                                         01 : 55 PM
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                                                                                                                                                                                                       INDEX
                                                                                                                                                                                                       INDEX NO.
                                                                                                                                                                                                             NO. 615294/2020
                                                                                                                                                                                                                 604300/2018

NYSCEF
        CaseNO.
NYSCEF DOC.
       DOC.
             2:21-cv-01597-DRH-ARL
            NO. 1
                1
                                   Document 1-1 Filed 03/25/21 Page 22 of 54 PageID
                                                                    RECEIVED
                                                                    RECEIVED  NYSCEF:
                                                                              NYSCEF:
                                                                                      #: 28
                                                                                         12/31/2020
                                                                                         04/02/2018




          the     class     known         as PE             116-Begiññiñg                  Horseback               Riding          offered       by       defendant                 LIU             within        the    North


          Shore       Indoor        Equestrian                 Center         located        upon         the     grounds           of LIU          Post.


                          17.            That         at all        times       hereiñafter           mentioned,                  defendant,             North          Shore,                its     employees              and


          agents      were        responsible                 for     prepariñg            the   horses          that      were     to be used              by    students                    while          participating


          within          the    class     known               as PE          116-Begiññiñg                  Horseback               Riding          offered            by         defendant                   LIU       within


          the     North         Shore     Indoor             Equestrian             Center         10cated         upon       the     grounds            of LIU          Post.


                          18.            That         at all        times       hereinafter           mentioned,                  defendant,             North          Shore,                its     employees              and


          agents      were         responsible                 for     providing            equipment               that     was      safe      to be          used          for        its     intended             purpose


          while       being        used         by         stüdeñts           while        participating                 within       the      class           known               as     PE          116-Begiññiñg


          Horseback              Riding            offered            by      defendant            LIU          within        the     North           Shore            Indoor                 Equestrian                Center


          located         upon      the    grounds                 of LIU       Post.


                          19.            That         at     all     times      hereinafter              mentioned,                defendant,             LIU,         its     employees                       and       agents


          were      responsible              for       the         safety     of    the     sMdents             who        used      the     horses            while         participating                      within        the


          class      known          as PE             116-Begiming                     Horseback                Riding        offered          by     defendant                    L1U          within           the     North


          Shore       Indoor        Equestrian                 Center         located        upon         the     grounds           of L1U          Post.


                          20.            That         at     all     times      hereinafter              mentioned,                defendant,             LIU,         its     employees                       and       agents



          were       responsible                for        prepariñg            the       horses      that        were        to    be       used        by      students                 while              participating


          within          the    class     known               as PE          116-Beghming                   Horseback               Riding          offered            by         defendant                   LIU       within



          the     North         Shore     Indoor             Equestrian             Center         located         upon       the     grounds            of L1U          Post.


                          21.            That         at     all     times      hereinafter              mentioned,                defendant,             LIU,         its     employees                       and       agents


          were       responsible                for         providing              a horse         that         was        safe     for      plaintiff            to     use            while            plaintiff           was



          participating             within            the     class         known         as PE      116-Begin_ning                   Horseback                  Riding             offered              by      defendant



          L1U      within        the     North         Shore           Indoor         Equestrian           Center           located         upon         the     grounds                of LIU               Post.




                                                                                                       6 ofof 10
                                                                                                      21      53
FILED:
FILED : NASSAU COUNTY
        NASSAU COUNTY CLERK
                      CLERK 12/31/2020
                            04/02/2018 12:47
                                       01 : 55 PM
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                                                                                                                                                                                                          INDEX
                                                                                                                                                                                                          INDEX NO.
                                                                                                                                                                                                                NO. 615294/2020
                                                                                                                                                                                                                    604300/2018

NYSCEF
        CaseNO.
NYSCEF DOC.
       DOC.
             2:21-cv-01597-DRH-ARL
            NO. 1
                1
                                   Document 1-1 Filed 03/25/21 Page 23 of 54 PageID
                                                                    RECEIVED
                                                                    RECEIVED  NYSCEF:
                                                                              NYSCEF:
                                                                                      #: 29
                                                                                         12/31/2020
                                                                                         04/02/2018




                         22.               That            on     November                 22,      2016,           plaintiff,             Kourtney               Tankleff,           after         paying        monetary


          remuneration                  to defendant                     LIU,      was         lawfully           enrolled          within           the        class      known           as PE         116-Beginning


          Horseback               Riding              offered              by     defendant                 LIU      within             the     North            Shore           Indoor          Equestrian             Center


          located         upon          the    grounds                of LIU           Post.


                         23.               That        on November                        22,     2016,           after     paying            monetary              remuneration                   to    defendant          LIU


          had     a duty          to     supervise                   plaintiff          while       plaintiff             was      riding           a horse             during       the        class      known         as PE



          116-Beginning                       Horseback                 Riding.


                         24.               That        on November                        22,     2016,           after     paying            monetary              remuneration                   to defendant             LIU


          and     in     furtherance                  of     a course                                        while                                         within          the     class        known            as PE      116-
                                                                                  curriculum,                              participating


          Begiresig             Horseback                   Riding,              defendant             L1U,        their      employees                   and     agents,         directed          plaintiff,          against


          her    will,      to ride            a horse               named         Drake          that       plaintiff           had       never          ridden         and      with       whom           plaintiff        was


          unfamiliar            with.


                         25.               That        on November                        22,     2016,           after     paying            monetary              remuneration                   to    defendant          LIU


          and     in     furtherance                  of     a course                                        while                                         within          the     class        known            as PE      116-
                                                                                  curriculum,                              participating


          Begiresig             Horseback                   Riding,              defendant             North         Shore,         their       employees                 and      agents,         directed         plaintiff,


          against         her      will,         to        ride        a horse           named              Drake          that         plaintiff          had       never         ridden           and      with        whom


          plaintiff        was         unfamiliar                 with.


                         26:               That            at the         aforesaid             time        and     place,         while            the    plaintiff           was        riding         a horse        named


          Drake          during          the      class           known            as PE          116-Begirginig                    Horseback                    Riding,          slowly           and     carefully         and



          exercising              the         degree            of      care      for     her       own           safety         that       a reasonably                   prudent           person          would         have


          exercised            under           the     same            conditions,              plaintiff          was      caused            to be thrown                  from         said      horse      causing            her



          to sustain           serious          personal                injury.


                         27.               That        the        same           was     caused           due      to the         negligence                and         carelessness               of the     defendants,




                                                                                                                7 ofof 10
                                                                                                               22      53
                           04/02/2018 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 01:55 PM                                                                                                                                                                                  604300/2018
                                                                                                                                                                                                                      INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 24 of 54 PageID
                                                                    RECEIVED        #: 30
                                                                              NYSCEF:  04/02/2018
                                                                                       12/31/2020




         their       agents,             servants,          and/or             employees                  in the           ownership,                 operation,               maintenance,                  management                       and


         control         of         the      horse,         their         failure             to     supervise                  plaintiff          during               her     participation                   in     said        class,         in



         forcing         and         directing             plaintiff,             against             her       will,          to ride       a horse             that     she was           unfamiliar                   with        and       did


         not     want          to     ride,        in     directing              plaintiff               to     ride        a horse           knowing                plaintiff            was      unfamiliar                    with         said


         horse        and       with          knowledge                   that        the     horse            had        tendencies               to be          violent           and     buck;          in        failing         to warn


         plaintiff          about            the     tendencies                  of      said        horse           to     be     violent            and        buck          when        defendants,                   their          agents,


         servants           and/or            employees                 knew,            or by           the    exercise              of reasonable                     care     and      caution            could             and      should


         have        known                that     the      said        horse            was        prone            to     being           violent         and          bucking            and       was            likely        to    do      so


         while        plaintiff             was      riding         it.


                         28.                 That         the       defendants,                      their        agents,             servants              and/or             employees                had            actual           and/or


         constructive                 notice            of the      tendency                  of     said       horse           to be violent               and         buck.


                         29.                 That         by        forcing               plaintiff              to        ride       a      horse          that          defendants                knew               plaintiff              was


         unfamiliar                 with           and       defendants                       knew             had         a      propensity                to      be        violent           and        buck,               defendants



         knowingly,                  significantly                  and        unreasonably                       increased                 the     risk         that     plaintiff          would              be      thrown               from


         said      horse        and         sustain         injury


                         30.                 That         the       foregoing                  occurrence                      was        caused            solely            and       wholly          as           a result           of     the


         negligence                 of     the     defendants,                   their        agents,            servants,              and        employees,                  without           any     negligence                     on     the


         part     of the        plaintiff               contributing                  thereto.


                         31.                 That         by       reason                of        the        aforesaid               dangerous                  and/or             defective            and/or                hazardous



         condition,               this      plaintiff           was        rendered                  sick,        sore,          lame        and       disabled               and     was        injured              and      bruised            in



         and       about          her       body          and       limbs;            and          upon         information                   and       belief,           said       injuries          are       of      a permanent


         nature        and          character.              That          by     reason             thereof,              plaintiff          has      been         prevented              from         following                 her      usual



         vocation,             including                school,           and      has        been            obliged           to incur           expenses               and       obligations              for        medical              care,




                                                                                                                      8 of
                                                                                                                     23  of 10
                                                                                                                             53
                           04/02/2018 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 01:55 PM                                                                                                                                                    604300/2018
                                                                                                                                                                                        INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 25 of 54 PageID
                                                                    RECEIVED        #: 31
                                                                              NYSCEF:  04/02/2018
                                                                                       12/31/2020




         attention         and      treatment          and     she has         been     informed          and         believes            that    she will          in the     future       be obliged


         to    incur      further         expense        and        obligations         for   the     medical              care,         attention            and   treatment           and      continue


         to have         pain       and    suffering          and     be unable         to follow          her        current          vocation,              for   a long     period           of time       to


         come          in the    future.


                         32.          That        as a result          of the     foregoing           plaintiff            has     been          damaged            in the     sum       that     exceeds


         the jurisdictional                limits      of all       lower      courts     and    in an amount                     to be determined                       at time    of trial.




          .

                         WHEREFORE,                     plaintiff           demands       judgment              against            the     defendants               in the     sum       that     exceeds


         the    jurisdictional               limits      of     all    lower       courts       and       in      an       amount            to    be     determined               at    time      of     trial


         together         with      the    costs       and    disbursements              of this       action.




         Dated:          Mohegan           Lake,       New          York
                         April      02,    2018




                                                                                                Yours           etc.




                                                                                                Goldblatt              &      Associates,               P.C.


                                                                                                               W~P
                                                                                                Kenneth               B.    Goldblatt,                  sq.
                                                                                                Attorneys               for       Plaintiff(s)
                                                                                                1846           East        Main       Street         (Route         6)
                                                                                                Mohegan                Lake,          New         York         10547

                                                                                                (914)          788-5000




                                                                                               9 of
                                                                                              24  of 10
                                                                                                      53
                           04/02/2018 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 01:55 PM                                                                                                                                                            604300/2018
                                                                                                                                                                                                INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 26 of 54 PageID
                                                                    RECEIVED        #: 32
                                                                              NYSCEF:  04/02/2018
                                                                                       12/31/2020




                                                                               ATTORNEY'S                              VERIFICATION




          STATE          OF NEW                YORK                                        )
                                                                                                                 ss:
         COUNTY                 OF      WESTCHESTER                                        )




                        I, Kenneth             B.     Goldblatt,              Esq.,        an attorney                   duly      licensed          to practice         law      in the


          State      of New           York,      hereby             affirms       the      following                   under       the     penalty         of perjury:


                        I am the            attorney          for     the     Plaintiff,             in the            within         action.      I have       read     the      foregoing            Complaint


         and      know          the     contents          thereof;             upon            information                   and      belief,      the      same       is true         except         as to   those


         matters        therein         stated        to be alleged               upon           information                    and     belief,         which       I believe         to be true.


                        The      information                  contained           in the             aforementioned                       Complaint             as derived            from         conversations


         and         correspondence                    with         representatives                         of     Plaintiff            and       through           memoranda,                 investigations,


         reports        and     other         matters         contained               in our         file        on this        matter.


                        The      reason         that     this        verification                is being              made        by     myself          and   not     by      the    plaintiff        is that    the


         Plaintiff        is in        a county           other         than      that          in    which             we      maintain           the     office      where          this    document             was


         prepared.


         Dated:         Mohegan               Lake,      New          York
                        April         02,     2018
                                                                                                                        W~                         P.      g~~~                              ~y.




                                                                                                                                Kenneth           B.     Goldblatt,          Esq.




                                                                                                            10 of 53
                                                                                                            25    10
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                              INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 27 of 54 PageID
                                                                    RECEIVED        #: 33
                                                                              NYSCEF:  12/31/2020




                                                                                  11-20-20




                                       Exhibit B

                            Furman Summons and Complaint


                                               16




                                            26 of 53
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                               613278/2019
                                                                                                                                                                                                   INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 28 of 54 PageID
                                                                    RECEIVED        #: 34
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020



         SUPREME                 COURT               OF THE             STATE            OF NEW                 YORK                                      Index         No.:
         COUNTY                OF NASSAU                                                                                                                  Date         of Purchase:
         ------------------------------------                                                              ----------X
         GABRIELLA                      F. FURMAN,                                                                                                        SUMMONS
                                                                                          Plaintiff(s),
                                                                                                                                                       Plaintiff              designates
                                                  -against-                                                                                            Nassau             County
                                                                                                                                                          as the        place        of trial.
         NORTH              SHORE               EQUESTRIAN                      CENTER,                INC.
         and      LONG          ISLAND               UNIVERSITY,                                                                                       The        basis         of venue           is:

                                                                                         Defendant(s).                                                 Residence                  of Plaintiff

         ------------------------------------------------------------------X                                                                           2456            Kerry         La.

                                                                                                                                                       Bellmore,                  NY       11710



                                                                                                                                                       Trial       by         Jury     Demanded
         To     the    above-named                       Defendant(s)
                        You       are     hereby            summoned                  to answer           the     complaint                  in this       action,            and     to serve           a copy      of

         your      answer,         if the        complaint             is not       served      with       this       summons,                   to serve         a notice            of appearance                on

         the    plaintiff       s attorney(s)               within        twenty         days      after        the        services             of this      summons                 exclusive            of the     day
         of    service,       where         service          is made           by    delivery       upon          you        personally               within            the     state,      or within         30

         days      after      completion                 of service        where         service          is made            in any          other        manner.               In case       of your         failure

         to appear          or answer,             judgment             will        be taken       against            yo         by    default         for       the     relief       demanded              in the

         complaint.



         Dated:                         Mineola,            New        York
                                        September              4, 2019


                                                                                                                           By:        Jo    h             Âlhqk,                Esq.

                                                                                                                           Attorne                     Plaintiff

                                                                                                                           Gabriella              INFurman

                                                                                                                           KRAMER                   & POLLACK,                         LLP
                                                                                                                                                                  2nd
                                                                                                                           25 Roslyn               Road,                 FlOOr

                                                                                                                           Mineola,              New        York          11501

                                                                                                                           (516)           742-8897



         TO:
                                North            Shore      Equestrian               Center,       Inc.
                                 720     Northern              Blvd.

                                 Greenvale,               NY      11548



                                 Long           Island      University
                                 720     Northern             Blvd.

                                 Greenvale,               NY     11548




                                                                                                     1 of
                                                                                                    27  of 19
                                                                                                            53
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                        613278/2019
                                                                                                                                                                                            INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 29 of 54 PageID
                                                                    RECEIVED        #: 35
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020



          SUPREME                    COURT                 OF THE               STATE           OF NEW                 Y ORK
          COUNTY                  OF NASSAU
          ----------------------------                                          -------------------------------X
          GABRIELLA                       F. FURMAN,                                                                                                     Index        No.:

                                                                                                 Plaintiff(s),


                                                      -against-                                                                                          VERIFIED                COMPLAINT


          NORTH               SHORE               EQUESTRIAN                           CENTER,                 INC.
          and     LONG             ISLAND                  UNIVERSITY,
                                                                                                 Defendant(s).
          ___________________________________________                                                           ------------X


                           Plaintiff,           by      her     attorneys,             KRAMER                  &    P OLLACK,                LLP,       as and         for   a cause       of action


         alleges          upon          information                and        belief     as follows:


                      1.                   At     all      times      hereafter              mentioned,              plaintiff       was      and      still   is a resident            of Bellmore,



         County            of Nassau,                State       of New            York.


                     2.                    At     all      times      hereinafter               mentioned,              defendant,            North        Shore        Equestrian          Center,        Inc.


         (Hereinafter                "Equestrian                   Center")            was     and     still       is a domestic             corporation              duly    licensed         and



         organized             under         the        laws       of the        State       of New            York.


                     3.                   That          on November                    28,     2017,      and         at all     times      herein       mentioned,            defendant,


         Equestrian              Center,             was       and    still      is a foreign           corporation                duly      licensed          and     organized         under       the   laws



         of the      State        of New             York.


                    4.                    That          on November                    28,     2017,      and        at all      times      herein      mentioned,             defendant,


         Equestrian              Center,           was         and    still      is a domestic                 non-for-profit              corporation           duly        licensed      and



         organized             under        the         laws       of the        State       of New        York.



                    5.                    That          on November                    28,     2017,      and       at all times            herein      mentioned,             defendant,


         Equestrian             Center,           was          and    still      is a foreign           non-for-profit                   corporation           duly      licensed        and    organized



         under      the       laws        of the         State       of New            York.




                                                                                                            2 of
                                                                                                           28  of 19
                                                                                                                   53
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                    613278/2019
                                                                                                                                                                                        INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 30 of 54 PageID
                                                                    RECEIVED        #: 36
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




                     6.               That        on November                  28,    2017,           and      at all times          herein       mentioned,                defendant,


          Equestrian         Center,            was     and      still     is a partnership                 duly        licensed      and      organized             under       the     laws     of the


          State    of New          York.


                    7.               That         on November                 28,     2017,           and      at all times          herein      mentioned,                 defendant,           Long


          Island     University,             was      and      still      is a private         university               established           under      the        laws     of the      State        of New



          York,     with     its principal              office         located       at 720           Northern           Blvd,      Greenvale,           NY           1 1548,        in the      County


          of Nassau,         State        of New          York.


                    8.               That         on November                 28,     2017,           and      at all    times      herein       mentioned,                 defendant,          Long


         Island      University,            was       and      still     is was       and     still      is a domestic              corporation              duly     licensed           and



         organized          under         the   laws        of the        State      of New            York.


                    9.               That         on November                 28,     2017,           and    at all      times      herein       mentioned,                 defendant,          Long


         Island      University,            was       and      still     is a foreign          corporation                duly      licensed       and        organized              under      the    laws


         of the     State    of New             York.


                    10.              That       on November                   28,     2017,       and       at all       times      herein       mentioned,                defendant,           Long


         Island     University,             was       and     still      is a domestic                non-for-profit               corporation          duly         licensed          and     organized



         under     the     laws      of the       State       of New          York.



                    11.              That       on November                   28,     2017,       and       at all       times      herein       mentioned,                defendant,           Long


         Island     University,             was       and     still      is a foreign         non-for-profit                  corporation             duly      licensed         and      organized



         under     the     laws     of the        State       of New          York.



                   12.               That       on November                  28,     2017,        and       at all       times      herein       mentioned,                defendant,           Long


         Island     University,             was       and     still      is a partnership                duly      licensed         and      organized              under      the     laws      of the



         State     of New         York.




                                                                                                            3




                                                                                                       3 of
                                                                                                      29  of 19
                                                                                                              53
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                              613278/2019
                                                                                                                                                                                  INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 31 of 54 PageID
                                                                    RECEIVED        #: 37
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




                     13.              That        one        or more        of the      exceptions               of     §1602       of the       Civil      Practice         Law       and   Rules


          do     apply     to the      within           action.


                                                             AS AND            FOR       A FIRST                 CAUSE            OF ACTION


                     14.              Plaintiff          repeats,         reiterates          and     realleges            each      and      every       allegation         contained          in all


         the     paragraphs            set   forth        above         of the       within       complaint               with     the      same      force     and     effect         as if more



         fully      set forth       at length            herein.


                     15.              That        on November                  28,    2017,         and       at all    times       herein       mentioned,            there       existed      a


         premises          known         as North              Shore      Equestrian            Center,            located         within      the       confines       of the         campus       of



         defendant,          Long        Island          University,              at 720      Northern             Blvd,         Greenvale,           NY       11548,        in the       County


         of Nassau,           State      of New              York.


                     16.              That        on November                  28,    2017,       and         at all    times       herein       mentioned,            the     aforesaid



         premises          was     owned           by     defendant,              Equestrian            Center.


                    17.               That        on November                  28,    2017,       and         at all    times      herein        mentioned,            the     aforesaid



         premises          was     leased         by     defendant,            Equestrian             Center.



                    18.               That        on November                28,      2017,       and         at all    times      herein        mentioned,            the     aforesaid



         premises          was     operated             by     defendant,            Equestrian               Center.



                    19.               That        on November                28,      2017,       and         at all    times      hereinafter            mentioned,             the    aforesaid



         premises          was   maintained                  by      defendant,         Equestrian               Center.



                    20.             That        on November                  28,     2017,      and       at all        times      hereinafter            mentioned,             the    aforesaid



         premises          was   managed                by     defendant,            Equestrian               Center.



                    21.             That        on November                 28,      2017,      and       at all        times      hereinafter            mentioned,             the    aforesaid



         premises          was   controlled               by      defendant,          Equestrian                Center.




                                                                                                          4




                                                                                                 4 of
                                                                                                30  of 19
                                                                                                        53
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                                 613278/2019
                                                                                                                                                                                                     INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 32 of 54 PageID
                                                                    RECEIVED        #: 38
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




                      22.               That          on November                    28,        2017,         and       at all    times       hereinafter,               defendant,                  Equestrian



          Center,         was      a subdivision                    and/or        subsidiary                 of    defendant,             Long        Island         University.


                      23.               That          on November                    28,        2017,         defendant,            Equestrian               Center,          conducted,                    offered


          and     provided          horseback                    riding      training,               instruction           and/or         lessons           at its      facility            located           at 720


         Northern           Blvd,           Greenvale,                New        York           to the        public        at large,        including               students              of      defendant,



          Long      Island         University.


                    24.                 That          on November                    28,        2017,        the    plaintiff         herein,         was       enrolled              as a student                   of



         defendant,             Long         Island           University,               located           at 720         Northern            Blvd,       Greenvale,                  New            York.



                    25.                 That          on November                   28,         2017,        the    plaintiff         herein,         was       enrolled              in     and/or          received



         horseback           riding          training,             instruction              and/or           lessons         at defendant's,                   Equestrian                  Center,           facility


         located          at 720       Northern               Blvd,        Greenvale,                  New         York.



                    26.                At      all     times          hereinafter               mentioned,                on November                  28,     2017,          and          prior         thereto,



         defendant,             Equestrian                  Center,        had      a duty            to properly               supervise,           observe,            oversee,                 look      after,


         guard,       keep       safe        and       care       for     individuals                 who         were     in the      care,         custody,           and        control            of     defendant,


         Equestrian             Center,             while        participating                  in    and     receiving            horseback             riding          training,                instruction



         and/or       lessons          at its        facility.


                    27.                At     all      times        hereinafter                 mentioned,               on November                   28,     2017,          and          prior         thereto,



         defendant,          Equestrian                  Center,          had       a duty           to supervise,                control,       and         instruct         its     agents,              servants,



         employees,             and      representatives,                     with         respect            to the       proper         manner         of     caring             for,      keeping            safe      and



         supervising             individuals                 participating                 in    and        receiving            horseback            riding         training,              instruction



         and/or       lessons          at its        facility.



                    28.                At     all     times         hereinafter                 mentioned,               on November                  28,      2017,        and           prior       thereto,



         defendant,          Equestrian                  Center,          and     its      agents,           servants,           supervisees,                employees                    and




                                                                                                                    5




                                                                                                             5 of
                                                                                                            31  of 19
                                                                                                                    53
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                                     613278/2019
                                                                                                                                                                                                         INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 33 of 54 PageID
                                                                    RECEIVED        #: 39
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




          representatives,                   had         a duty         to properly                select,       assign           and       provide          to individuals                    participating               in


          and     receiving            horseback                  riding       training,             instruction                 and       lessons,         including               plaintiff,           horses         that


          possessed           the      propensities                  that     were          suitable          and       appropriate                 for     the       setting          in which               they     were


          used.



                     29.                At        all     times         hereinafter               mentioned,                on November                     28,       2017,          and       prior      thereto,


          defendant,          Equestrian                   Center,           and      its agents,             servants,                supervisees,               employees                   and



          representatives,                  had          a duty         to properly               select,      assign             and      provide          to individuals                     receiving


          horseback           riding         training,              instruction              and/or           lessons            at its      facility,        including                plaintiff,             horses       that


          were       commensurate                        with      said      individual's                level         of    knowledge,                   experience,                 skill      and      ability.


                     30.               At      all       times          hereinafter               mentioned,                on November                     28,       2017,         and       prior       thereto,



         defendant,           Equestrian                   Center,          and       its    agents,          servants,                supervisees,               employees                   and



         representatives,                   had         a duty       to provide               the     proper           and        necessary               horseback              riding             equipment             and



         appliances,           including                  but     not      limited          to,     saddles         and          girths,       to ensure               that     the      horseback               riding


         training,         instruction                  and/or       lessons           were          conducted               and        performed                in    a safe         and        protected



         manner.


                     31.               At     all        times       hereinafter                  mentioned,                on     November                28,        2017,      and          prior      thereto,



         defendant,           Equestrian                   Center,          and       its   agents,           servants,             supervisees,                  employees                   and



         representatives,                   had         a duty      to provide               the      proper           and        necessary              horseback              riding            equipment               and



         appliances,           including                  but     not      limited          to,     saddles         and          girths,       that       were         in     good        and         proper         working


         order.


                     32.               At     all        times      hereinafter               mentioned,                    on November                    28,        2017,      and          prior      thereto,



         defendant,           Equestrian                  Center,           and      its    agents,          servants,              supervisees,                  employees                   and



         representatives,                had            a duty      to properly               place,          attach,            fasten,       affix,       secure            and       adjust          the




                                                                                                                   6




                                                                                                              6 of
                                                                                                             32  of 19
                                                                                                                     53
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                                         613278/2019
                                                                                                                                                                                                             INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 34 of 54 PageID
                                                                    RECEIVED        #: 40
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




          horseback                riding          equipment                   and    appliances,                   including             but      not         limited        to,      saddles           and      girths,      upon


          the     horses           utilized             in the       horseback                  riding          training,         instruction                   and/or        lessons             conducted             at its


          facility.


                        33.                 At      all     times           hereinafter                 mentioned,              on November                        28,     2017,            and     prior       thereto,


          defendant,               Equestrian                   Center,         and        its       agents,         servants,            supervisees,                   employees                 and



          representatives,                       had      a duty          to properly                   inspect        and        examine               the      horseback              riding           equipment             and



          appliances,               including               but       not      limited            to,     saddles           and        girths,          that     were       placed,            attached,            fastened,


          affixed           and     secured               upon        the      horses            utilized           in the      horseback                  riding          training,           instruction              and/or



          lessons            conducted                 at its      facility.



                       34.                  At     all     times          herein          mentioned,                  on November                       28,      2017,        and       prior          thereto,



         defendant,                Equestrian                   Center,         and       its     agents,            servants,            supervisees,                   employees                 and



         representatives,                        breached             their        duty         by      failing       to properly                 supervise,               observe,               oversee,         look       after,



         guard,          keep        safe        and       care       for      individuals                  who       were        in     its     care,         custody         and          control,         including


         plaintiff,           while         participating                     in and        receiving                horseback                 riding          training,         instruction                and/or          lessons



         at its       facility,        thereby              causing             the    accident                 described              herein.



                       35.                  At     all     times          herein          mentioned,                 on November                        28,      2017,        and      prior         thereto,



         defendant,                Equestrian                   Center,         breached                their       duty     by        failing          to properly                 supervise,              observe,


         monitor             and      instruct            its     employees,                agents,               representatives                  and          servants,            with         respect         to the



         proper          manner             of    caring           for,      keeping              safe      and       supervising                 individuals                participating                   in and



         receiving             horseback                  riding          instruction,                training          and/or           lessons               at its    facility,           including            the



         plaintiff           herein.



                      36.                At       all     times           herein       mentioned,                    on November                        28,      2017,       and       prior        thereto,



         defendant,               Equestrian                Center,             and       its    agents,            servants,            supervisees,                    employees                 and




                                                                                                                        7




                                                                                                                    7 of
                                                                                                                   33  of 19
                                                                                                                           53
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                                 613278/2019
                                                                                                                                                                                                     INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 35 of 54 PageID
                                                                    RECEIVED        #: 41
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




          representatives,                         breached           their      duty         by     negligently              providing            plaintiff          with       a horse,             in particular,


          "Tuna,"
                                which         possessed               propensities                 that      were        inappropriate                 and      unsuitable             for     the     setting         in


          which           it was         used,            considering             plaintiff's              lack      of horseback                riding         knowledge,                experience,               skill


          and        ability.


                        37.                   At     all     times       herein         mentioned,                 on November                   28,      2017,       and      prior         thereto,


          defendant,                  Equestrian               Center,        and       its     agents,           servants,          employees                and     representatives,                     breached


                                                                                                                                                                         "Tuna,"
          their       duty       by      negligently                 providing              plaintiff         with        a horse,         in particular,                                    that     bore


          improper               and      dangerous                  horseback              riding         equipment             and       appliances,               including               but     not     limited          to,


          saddles             and      girths.



                        38.                  At      all     times      hereinafter                mentioned,               on November                   28,       2017,      and       prior        thereto,



         defendant,                 Equestrian                Center,         and       its     agents,           servants,          employees               and      representatives,                     breached


                                                                                                                                                                         "Tuna,"
         their        duty       by      negligently                 providing            plaintiff           with       a horse,          in particular,                                    that     bore


         horseback                  riding         equipment              and       appliances,               including              but   not      limited          to,     saddles           and      girths,        that



         were         not       in good            and       proper       working               order.


                       39.                   At     all     times       hereinafter                mentioned,               on November                   28,      2017,       and       prior        thereto,



         defendant,                 Equestrian                Center,         and       its     agents,           servants,          employees               and     representatives,                      breached



         their       duty        by      failing           to properly            place,           attach,        fasten,       affix,      secure           and      adjust       the        necessary             and



         proper          horseback                  riding          equipment             and        appliances,              including           but        not    limited        to,       saddles          and


                                                                                                                                                           "Tuna,"
         girths,        upon           the    horse          that     was      provided               to plaintiff,            in particular                                  thereby              causing


         plaintiff            to fall,        sustaining              serious         and        permanent               injuries.



                      40.                    At     all     times       hereinafter                mentioned,               on November                   28,      2017,       and       prior        thereto,



         defendant,                 Equestrian                Center,         and     its     agents,         servants,           employees                  and     representatives,                      breached



         their       duty        by     failing            to properly           inspect             and     examine           the       horseback              riding        equipment                and




                                                                                                                     8




                                                                                                              8 of
                                                                                                             34  of 19
                                                                                                                     53
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                                                613278/2019
                                                                                                                                                                                                                    INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 36 of 54 PageID
                                                                    RECEIVED        #: 42
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




          appliances,                  including                   but     not      limited         to,    saddles              and     girths,           that      were          on the           horse         provided              to


                                                                    "Tuna,"
          plaintiff,              in particular,                                         and     the      manner           in which               such          equipment                   and      appliances                were



          placed,             attached,               fastened,                 affixed,         secured,           to ensure              the         safety       and         protection                of     the     plaintiff


          herein.



                        41.                    At      all     times            herein         mentioned,               on November                        28,      2017,            while         the      plaintiff            was



          participating                  in     and          receiving               horseback             riding          instruction,                  training              and/or         lessons            at the


          aforesaid               Equestrian                  Center              facility,       the      saddle          and/or             girth       on the          horse            she      was        riding,        in


                                      "Tuna,"
          particular,                                       was      caused             to change            position             and         shift,       causing              plaintiff           to be violently


          precipitated                  to the             ground           and       to sustain           severe          and        permanent                  injuries.



                        42.                    That          the     aforesaid                accident           and      the     injuries              resulting              therefrom              were          caused            by


         reason           of the         negligence                      of the         defendant,               Equestrian                Center,            and        its    agents,            servants,              employees



         and      representatives,                           without              any      negligence               on the         part        of plaintiff                contributing                    thereto.


                        43.                   That           the     aforesaid                accident           and      the     injuries              resulting              therefrom              were          caused            by


         reason           of the         negligence                      of the         defendant,               Equestrian                Center,            in failing              to     supervise,                observe,


         monitor              and       instruct             its     agents,            servants,          employees                  and        representatives,                          with      respect             to the



         proper           manner               of     caring             for,     keeping          safe      and        overseeing                    individuals,                   including             the      plaintiff,



         participating                   in     and         receiving               horseback              riding         instruction,                  training               and     lessons             at its       facility.



                       44.                    As      a result             of the          foregoing,             the     plaintiff            was        severely               injured            and        damaged,


         rendered              sick,          sore,         lame          and      disabled,            sustained               severe          nervous             shock             and         mental         anguish,              great



         physical             pain       and          emotional                  upset,        some        of     which           injuries             are      permanent                   in nature            and       duration;



         plaintiff,            will      be permanently                            caused         to suffer             pain,         inconvenience                       and         other        adverse             effects         of



         such         injuries;          the        plaintiff,              incurred            and       in the        future         will       necessarily                   incur         further           hospital             and/or



         medical              expenses                in     an effort             to be cured              of     said        injuries;          the        plaintiff            has       suffered             and       in the




                                                                                                                           9



                                                                                                                    9 of
                                                                                                                   35  of 19
                                                                                                                           53
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                             613278/2019
                                                                                                                                                                                                 INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 37 of 54 PageID
                                                                    RECEIVED        #: 43
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




          future        will          necessarily               suffer            additional           loss        of time           and    earnings           from       employment;               and      the


          plaintiff            will      be     unable           to pursue              her        usual       duties          and      recreational            and   social       activities          with         the


          same        degree            of     efficiency                and       pleasure            as prior           to this        incident.


                       45.                    That        by     reason            of the          foregoing,             plaintiff         has      been      damaged          in an amount                 that


          exceeds            the jurisdictional                          limits       of     all    lower          courts,        which          would        otherwise          have        jurisdiction.


                                                                          AS AND                   FOR       A SECOND                      CAUSE              OF ACTION


                      46.                     Plaintiff          repeats,             reiterates             and      realleges            each       and     every       allegation          contained             in all


         the    paragraphs                    set    forth          above          of the          within       complaint                as if more           fully   set forth         herein        at length.


                      47.                    That         on November                      28,      2017,          and        at all    times        herein      mentioned,            there       existed          a


         premises              known             as Long             Island           University               located           at 720         Northern          Blvd,       Greenvale,            NY        11548,


         in the        County             of     Nassau,             State          of New            York.



                      48.                    That         on November                      28,      2017,       and        at all       times        herein      mentioned,            the     aforesaid



         premises              was       owned             by       defendant,               Long           Island        University.


                      49.                    That         on November                      28,      2017,       and        at all       times        herein     mentioned,             the     aforesaid



         premises              was       leased           by     defendant,                 Long          Island         University.



                      50.                    That         on November                      28,      2017,       and       at all        times     herein        mentioned,             the     aforesaid



         premises              was       maintained                  by      defendant,               Long           Island        University.



                      51.                    That         on November                      28,      2017,       and       at all        times     herein        mentioned,             the     aforesaid



         premises              was       managed                by       defendant,                Long        Island           University.



                      52.                    That         on November                      28,      2017,       and       at all       times      herein        mentioned,             the     aforesaid



         premises              was       controlled                 by     defendant,                Long       Island           University.



                      53.                 That        on        November                   28,     2017,        and       at all       times      herein        mentioned,             the     aforesaid



         premises            was         operated              by    the       defendant,                Long         Island           University.




                                                                                                                         10




                                                                                                                10 of 53
                                                                                                                36    19
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                               613278/2019
                                                                                                                                                                                                   INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 38 of 54 PageID
                                                                    RECEIVED        #: 44
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




                      54.                  That          on November                  28,        2017,          and       at all     times       hereinafter             mentioned,                the     aforesaid


          premises            was         managed                by    defendant             Long          Island           University.


                      55.                  That         on November                   28,        2017,         and        at all     times      hereinafter              mentioned,                defendant,



          Long       Island          University,                  managed             defendant,                Equestrian               Center.


                      56.                  That         on November                   28,        2017,         and        at all     times      hereinafter              mentioned,                defendant,



          Long       Island         University,                   controlled           defendant,                    Equestrian           Center.


                      57.                 That          on November                   28,        2017,         and        at all     times      hereinafter,             defendant,                Equestrian



         Center,            was     a subdivision                     and/or        subsidiary                 of    defendant,              Long       Island       University.


                     58.                  That          on November                   28,        2017,         defendant,              Long         Island       University,             and/or           its   agents,


         servants,           employees                   and      representatives,                    including              the      defendant,             Equestrian           Center,            conducted,


         offered           and     provided               horseback             riding            training,            instruction             and/or        lessons        at its      facility          located         at


         720      Northern               Blvd,          Greenvale,             New          York         to the           public       at large,        including           students            of       defendant,



         Long        Island         University.


                     59.                  That          on November                  28,         2017,         the     plaintiff        herein,         was      enrolled         as a student                  of



         defendant,               Long         Island           University,            located             at 720          Northern            Blvd,         Greenvale,           New          York.


                     60.                  That         on November                   28,     2017,             the     plaintiff        herein,         was      enrolled         in     and/or           received



         horseback               riding        training,              instruction            and/or            lessons         at the        Equestrian            Center         within           the     campus



         of     defendant,            Long             Island         University,            located                at 720     Northern              Blvd,       Greenvale,             New          York.



                     61.                  At     all     times         hereinafter               mentioned,                 on November                 28,      2017,      and        prior       thereto,



         defendant,               Long         Island           University,            and/or            its    agents,            servants,         employees             and     representatives,



         including           the     defendant,                  Equestrian            Center,             had        a duty         to properly             supervise,           observe,               oversee,


         look      after,        guard,          keep       safe       and     care        for     individuals                who       were        in the       care,     custody,            and        control      of




                                                                                                                     11




                                                                                                               11 of 53
                                                                                                               37    19
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                                   613278/2019
                                                                                                                                                                                                       INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 39 of 54 PageID
                                                                    RECEIVED        #: 45
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




          defendant,                Long          Island            University,              while          participating               in    and    receiving              horseback                 riding         training,


          instruction               and/or             lessons          at its      facility.


                       62.                 At         all    times          hereinafter            mentioned,                 on November                   28,     2017,          and       prior         thereto,


          defendant,              Long            Island           University,               and/or          its    agents,          servants,          employees                 and     representatives,



          including             the       defendant,                 Equestrian                 Center,           had     a duty        to supervise,               control,            and      instruct            its



          agents,           servants,             employees,                  and      representatives,                      with      respect       to the         proper          manner                of    caring      for,



          keeping            safe       and       supervising                  individuals                 participating               in and       receiving              horseback                 riding        training,


          instruction             and/or              lessons          at its       facility.


                      63.                  At         all    times       hereinafter               mentioned,                 on November                  28,      2017,          and       prior        thereto,


          defendant,             Long            Island            University,             and       its     agents,          servants,          supervisees,                   employees                 and



         representatives,                       including              the     defendant,              Equestrian                   Center,       had      a duty          to properly                select,         assign



         and      provide             to individuals                    participating                in and             receiving            horseback            riding         training,            instruction


         and      lessons,            including                plaintiff,           horses         that       possessed               the     propensities               that     were         suitable           and


         appropriate                for     the         setting        in which            they       were          used.


                      64.                  At     all       times       hereinafter                mentioned,                 on November                  28,     2017,          and        prior        thereto,



         defendant,              Long           Island             University,             and/or           its    agents,          servants,        employees                   and      representatives,



         including            the       defendant,                  Equestrian               Center,              had     a duty       to properly               select,         assign        and        provide          to



         individuals              receiving                  horseback              riding         training,             instruction            and/or       lessons             at its       facility,          including


         plaintiff,          horses            that         were      commensurate                     with         said      individual's               level      of     knowledge,                  experience,


         skill    and        ability.



                      65.                 At      all       times       hereinafter               mentioned,                 on November                  28,      2017,          and      prior          thereto,



         defendant,             Long            Island          University,               and/or            its    agents,          servants,        employees                   and     representatives,



         including            the       defendant,                  Equestrian             Center,            had        a duty        to provide           the      proper            and      necessary




                                                                                                                        12




                                                                                                                  12 of 53
                                                                                                                  38    19
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                                613278/2019
                                                                                                                                                                                                    INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 40 of 54 PageID
                                                                    RECEIVED        #: 46
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




          horseback               riding           equipment                  and    appliances,                including           but     not       limited         to,    saddles          and      girths,        to


          ensure          that     the      horseback                 riding         training,       instruction                 and/or         lessons           were       conducted              and


          performed               in     a safe           and       protected          manner.


                      66.                   At      all      times       hereinafter             mentioned,                 on November                     28,   2017,           and     prior      thereto,


          defendant,              Long            Island         University,              and/or         its     agents,         servants,            employees               and        representatives,



          including              defendant,                  Equestrian              Center,       had         a duty       to provide                the    proper          and      necessary


          horseback               riding          equipment               and        appliances,               including           but     not        limited        to,     saddles          and     girths,        that


         were        in     good         and       proper            working           order.


                      67.                  At       all      times      hereinafter              mentioned,                on November                      28,   2017,         and       prior      thereto,



         defendant,               Long           Island         University,              and/or          its     agents,         servants,            employees              and        representatives,



         including               defendant,                 Equestrian              Center,        had         a duty       to properly               place,        attach,         fasten,         affix,       secure



         and      adjust          the     horseback                  riding         equipment            and       appliances,              including              but      not     limited          to,     saddles



         and      girths,         upon           the      horses        utilized         in the      horseback                  riding      training,             instruction             and/or           lessons



         conducted                at its        facility.


                     68.                   At      all      times       hereinafter              mentioned,                on November                      28,   2017,        and       prior      thereto,



         defendant,               Long           Island         University,              and/or         its     agents,         servants,             employees              and        representatives,



         including            defendant,                    Equestrian              Center,        had         a duty       to properly               inspect         and       examine             the



         horseback               riding          equipment                and       appliances,                including           but    not       limited         to,     saddles          and      girths,        that



         were      placed,              attached,             fastened,             affixed       and         secured        upon         the      horses         utilized          in the        horseback



         riding       training,             instruction                and/or         lessons       conducted                   at its    facility.



                     69.                   At      all      times      herein         mentioned,                 on November                  28,      2017,        and       prior       thereto,



         defendant,              Long           Island          University,             and/or       its        agents,         servants,           employees                and        representatives,



         including           defendant,                     Equestrian              Center,       breached              their      duty       by      failing        to properly                 supervise,




                                                                                                                   13




                                                                                                              13 of 53
                                                                                                              39    19
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                                      613278/2019
                                                                                                                                                                                                          INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 41 of 54 PageID
                                                                    RECEIVED        #: 47
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




          observe,            oversee,            look          after,       guard,        keep         safe         and      care       for     individuals               who         were       in its        care,


          custody            and      control,               including            plaintiff,           while          participating                in     and      receiving               horseback              riding


          training,           instruction                   and/or        lessons         at its       facility,             thereby           causing          the      accident             described              herein


                       70.                At      all        tim.es       herein        mentioned,                   on November                    28,      2017,          and       prior      thereto,


          defendant,               Long         Island           University,              and/or             its     agents,          servants,           employees                  and      representatives,


          including            defendant,                    Equestrian              Center,           breached               their      duty       by      failing          to properly               supervise,


          observe,           monitor             and          instruct        its    employees,                    agents,           representatives                   and         servants,           with      respect      to


         the    proper          manner                 of    caring        for,      keeping            safe         and      supervising                 individuals                participating               in and



         receiving             horseback                    riding       instruction,                training           and/or          lessons           at its       facility,          including            the


         plaintiff           herein.



                      71.                 At      all       times        herein        mentioned,                    on November                    28,     2017,          and       prior       thereto,



         defendant,             Long           Island           University,               and/or            its     agents,           servants,           employees                  and      representatives,



         including             defendant,                   Equestrian              Center,           breached               their       duty       by     negligently                 providing              plaintiff


                                                                         "Tuna,"
         with        a horse,          in particular,                                    which           possessed                   propensities               that      were        inappropriate                  and



         unsuitable             for     the      setting             in which           it was          used,         considering                 plaintiff's             lack       of horseback                 riding


         knowledge,                experience,                   skill      and      ability.



                      72.                 At     all        times        herein        mentioned,                   on November                    28,      2017,          and       prior      thereto,



         defendant,             Long           Island           University,              and/or           its       agents,          servants,            employees                 and       representatives,



         including            defendant,                    Equestrian              Center,           breached               their      duty       by      negligently                providing               plaintiff


                                                                      "Tuna,"
         with        a horse,         in particular,                                     that        bore          improper            and      dangerous                horseback               riding


         equipment              and       appliances,                    including             but     not         limited       to,     saddles           and        girths.



                      73.               At       all        times        hereinafter             mentioned,                   on November                    28,       2017,         and       prior      thereto,



         defendant,             Long           Island           University,              and/or          its       agents,           servants,           employees                  and      representatives,




                                                                                                                       14



                                                                                                                14 of 53
                                                                                                                40    19
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                                               613278/2019
                                                                                                                                                                                                                   INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 42 of 54 PageID
                                                                    RECEIVED        #: 48
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




          including                 defendant,                   Equestrian                 Center,             breached            their      duty        by         negligently               providing                plaintiff


                                                                              "Tuna,"
          with        a horse,             in        particular,                                 that          bore       horseback             riding           equipment                    and     appliances,


          including             but          not        limited            to,     saddles            and       girths,         that     were        not        in     good         and       proper         working              order.


                       74.                      At      all      times           hereinafter                 mentioned,                on November                      28,      2017,          and      prior         thereto,


          defendant,                 Long             Island           University,               and/or            its    agents,           servants,            employees                    and      representatives,


          including             defendant,                      Equestrian                  Center,            breached            their       duty        by        failing         to properly                 place,       attach,


          fasten,          affix,          secure              and     adjust           the    necessary                  and     proper         horseback                     riding         equipment                and



         appliances,                  including                  but       not      limited            to,     saddles          and       girths,        upon           the      horse         that      was       provided             to


                                                                  "Tuna,"
         plaintiff,           in particular                                            thereby            causing           plaintiff           to fall,             sustaining               serious        and        permanent


         injuries.



                      75.                       At      all     times         hereinafter                mentioned,                    on November                     28,       2017,         and       prior         thereto,



         defendant,                 Long             Island          University,                 and/or           its     agents,          servants,             employees                    and     representatives,



         including              defendant,                      Equestrian                  Center,            breached           their       duty         by        failing         to properly                 inspect          and


         examine              the      horseback                     riding            equipment                and       appliances,               including                 but       not    limited           to,     saddles


                                                                                                                                                                                 "Tuna,"
         and      girths,           that        were           on     the        horse        provided             to plaintiff,              in particular,                                        and      the       manner           in



         which         such           equipment                      and      appliances                were          placed,           attached,           fastened,                affixed,            secured           to ensure



         the     safety         and          protection                 of       the     plaintiff             herein.


                      76.                    At        all     times         herein           mentioned,                  on November                    28,          2017,         while        the      plaintiff          was



         participating                  in      and           receiving             horseback                  riding       instruction,              training                 and/or         lessons            at the



         aforesaid            Equestrian                       Center            facility        on the           grounds              of Long           Island           University,                  the       saddle       and/or


                                                                                                                                                 "Tuna,"
         girth      that      were           on        the      horse            she     was         riding,          in particular,                                    was         caused          to    change           position



         and     shift,       causing                 plaintiff              to be violently                     precipitated               to the         ground              and       to sustain              severe        and



         permanent                  injuries.




                                                                                                                            15




                                                                                                                      15 of 53
                                                                                                                      41    19
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                                                                             613278/2019
                                                                                                                                                                                                                 INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 43 of 54 PageID
                                                                    RECEIVED        #: 49
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




                        77.                     That         the     aforesaid                accident              and      the     injuries            resulting           therefrom               were        caused           by


          reason          of       the        negligence               of the            defendant,                 Long          Island          University,               and      its    agents,         servants,


          employees                    and       representatives,                        without             any      negligence                   on th.e part             of plaintiff             contributing


          thereto.


                        78.                    That          the     aforesaid                accident              and      the     injuries            resulting           therefrom               were        caused           by


         reason           of the          negligence                   of the           defendant,                  Long         Island           University,               in failing          to supervise,



          observe,              monitor                and     instruct            its    agents,            servants,              employees                  and     representatives,                     with        respect         to


         the      proper              manner            of    caring             for,     keeping              safe        and      overseeing                 individuals,                 including            the     plaintiff,



         participating                    in     and     receiving                 horseback                 riding          instruction,                training            and      lessons           at its     facility.


                       79.                     As      a result             of   the      foregoing,                 the     plaintiff             was     severely               injured        and      damaged,


         rendered               sick,          sore,     lame          and         disabled,             sustained                 severe          nervous           shock          and       mental         anguish,             great



         physical              pain        and         emotional                 upset,         some         of which                injuries            are     permanent                 in nature         and         duration;



         plaintiff,             will      be permanently                           caused             to suffer            pain,         inconvenience                      and     other       adverse            effects         of


         such         injuries;            the      plaintiff,              incurred             and      in the           future          will      necessarily                 incur       further        hospital             and/or



         medical               expenses                in an effort               to be cured                  of     said        injuries;          the       plaintiff          has       suffered         and        in the


         future         will          necessarily                  suffer        additional               loss        of time            and       earnings           from          employment;                    and     the



         plaintiff             will      be unable                 to pursue              her        usual          duties         and      recreational                   and     social       activities             with       the



         same         degree             of     efficiency              and        pleasure              as prior            to this          incident.


                       80.                     That      by        reason          of the            foregoing,              plaintiff             has     been        damaged               in an amount                  that


         exceeds             the       jurisdictional                  limits            of    all     lower          courts,         which           would           otherwise               have      jurisdiction.




                                                                                                                             16




                                                                                                                     16 of 53
                                                                                                                     42    19
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                            613278/2019
                                                                                                                                                INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 44 of 54 PageID
                                                                    RECEIVED        #: 50
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




                   WHEREFORE,                   plaintiff   demands   judgment   against      defendants                     together    with   the   costs   and



         disbursements        of   this   action.


         Dated:    Mineola,        New     York
                   September         4, 2019
                                                                                   ours,     e        .




                                                                                 Joshua      D.               11     k, Esq.

                                                                                 Attorney         f       r         intiff

                                                                                 Gabriella        F. Furman
                                                                                 KRAMER                   & POLLACK,                    LLP
                                                                                                                      2nd
                                                                                 25 Roslyn            Road,                    FlOOr

                                                                                 Mineola,         New              York        11501

                                                                                 (516)      742-8897




                                                                            17




                                                                       17 of 53
                                                                       43    19
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                                                           613278/2019
                                                                                                                                                               INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 45 of 54 PageID
                                                                    RECEIVED        #: 51
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




                                                                                      VERIFICATION


          STATE          OF     NEW YORK                        )
                                                                    ) ss
          COUNTY              OF                                )




          I, Gabriella         F. Furman,              being          duly   sworn,    depose         and      say:


         I am the        plaintiff          in the     within          action.    I have      read     the     foregoing      Complaint,        and   know     the   contents
         thereof.        The         same        is true    to my          own   knowledge,           except      as to the    matters      therein   stated    to be alleged
         on    information             and       belief,     and       as to those     matters        I believe       them    to be true.




                                                                                                     Gabriella        F. Furman
         Sworn         to before            me on the
          0      day     of                                      2019
                                                           G/1 ,




              OTARY           PU            IC




                                                                                           18 of 53
                                                                                           44    19
                           09/25/2019 12:47
FILED: NASSAU COUNTY CLERK 12/31/2020 08:42 PM
                                            AM                                                                                613278/2019
                                                                                                                    INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 46 of 54 PageID
                                                                    RECEIVED        #: 52
                                                                              NYSCEF:  09/25/2019
                                                                                       12/31/2020




             Index    No.




             SUPREME          COURT             OF THE        STATE          OF NEW              YORK
            COUNTY           OF     NASSAU
            GABRIELLA               F. FURMAN,

                                                                          Plaintiff(s),


                                    -against-




            NORTH           SHORE       EQUESTRIAN                 CENTER,             INC.
            and      LONG     ISLAND            UNIVERSITY,


                                                                         Defendant(s).




                                                                    SUMMONS                   AND
                                                              VERIFIED               COMPLAINT




                                                         KRAMER                  & POLLACK,                   LLP
                                                               Attorneys           for    Plaintiff(s)
                                                                                              2nd
                                                              25   Roslyn         Road,               Fl007

                                                              Mineola,           New      York      11501

                                                                         (516)     742-8897




                                                                              19 of 53
                                                                              45    19
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                              INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 47 of 54 PageID
                                                                    RECEIVED        #: 53
                                                                              NYSCEF:  12/31/2020




                                                                                  11-20-20




                                          Exhibit C

                Additional Insured Endorsement Markel 2016 Policy


                                               18




                                            46 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                              INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 48 of 54 PageID
                                                                    RECEIVED        #: 54
                                                                              NYSCEF:  12/31/2020




                                                                                  11-20-20




                                               19




                                            47 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                              INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 49 of 54 PageID
                                                                    RECEIVED        #: 55
                                                                              NYSCEF:  12/31/2020




                                                                                  11-20-20




                                       Exhibit D

                              Limited Professional Liability-
                     Horse Trainers and Riding Instructors Endorsement
                                     Markel 2016 Policy


                                               20




                                            48 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                              INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 50 of 54 PageID
                                                                    RECEIVED        #: 56
                                                                              NYSCEF:  12/31/2020




                                                                                  11-20-20




                                               21




                                            49 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                              INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 51 of 54 PageID
                                                                    RECEIVED        #: 57
                                                                              NYSCEF:  12/31/2020




                                                                                  11-20-20




                                          Exhibit E

                Additional Insured Endorsement Markel 2016 Policy




                                               22




                                            50 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                              INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 52 of 54 PageID
                                                                    RECEIVED        #: 58
                                                                              NYSCEF:  12/31/2020




                                                                                  11-20-20




                                               23




                                            51 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                              INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 53 of 54 PageID
                                                                    RECEIVED        #: 59
                                                                              NYSCEF:  12/31/2020




                                                                                  11-20-20




                                          Exhibit F

                          Limited Professional Liability-
                 Horse Trainers and Riding Instructors Endorsement
                                Markel 2017 Policy
                                               24




                                            52 of 53
FILED: NASSAU COUNTY CLERK 12/31/2020 12:47 PM                              INDEX NO. 615294/2020
        CaseNO.
NYSCEF DOC.  2:21-cv-01597-DRH-ARL
                1                  Document 1-1 Filed 03/25/21 Page 54 of 54 PageID
                                                                    RECEIVED        #: 60
                                                                              NYSCEF:  12/31/2020




                                                                                  11-20-20




                                               25




                                            53 of 53
